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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 KASSEM HEJEIJ,

                               Plaintiff,

                   v.                                    Civil Action No. 19-cv-1921 (TFH)

 ANDREA M. GACKI, et al.,

                               Defendants.


                                  MEMORANDUM OPINION

       Kaseem Hejeij is a citizen of Lebenon who was designated by the Department of

Treasury, Office of Foreign Asset Control (OFAC) as a Specially Designated Global Terrorist

(SDGT) on June 10, 2015. Mr. Hejeij petitioned OFAC to reconsider his designation and

remove him from the list of SDGTs, but OFAC denied his request and Mr. Hejeij commenced

this litigation against OFAC and Andrea M. Gacki, in her official capacity as Director of OFAC,

challenging OFAC’s decision to include him on the SDGT list as arbitrary, capricious, or an

abuse of discretion. Defendants have moved to dismiss or, in the alternative for summary

judgment. The Court will dismiss Mr. Hejeij’s delay and Fifth Amendment claims and grant

summary judgment on all other claims.

                                     I.     BACKGROUND

       The International Emergency Economic Powers Act (IEEPA), 50 U.S.C. §§ 1701-08,

authorizes the President to declare a national emergency “to deal with any unusual and

extraordinary threat, which has its source in whole or substantial part outside the United States,

to the national security, foreign policy, or economy of the United States.” Id. § 1701(a). If a

national emergency is declared under IEEPA, the President can “regulate, direct and compel,

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nullify, void, prevent or prohibit” transfers or transactions involving “any property in which any

foreign country or a national thereof has any interest . . . with respect to any property, subject to

the jurisdiction of the United States.” Id. ¶ 1702(a)(1)(B). After the September 2001 terrorist

attacks, President George W. Bush declared a national emergency under IEEPA. See Executive

Order 13224 (E.O. 13224), 66 Fed. Reg. 49079 (Sept. 23, 2001). E.O. 13224 stressed “the

pervasiveness and expansiveness of the financial foundation of foreign terrorists” and found that

“financial sanctions may be appropriate for those foreign persons” determined to have assisted

terrorists and terrorist organizations. Id. at Preamble. The Secretary of the Treasury was

authorized to designate “persons” whose property and interests should be blocked because they

“assist in, sponsor, or provide financial, material, or technological support for, or financial or

other services to or in support of” terrorism and/or terrorist organizations. Id. § 1(c)-(d)(i). The

Secretary delegated its authority to OFAC, making it responsible for administering U.S.

economic sanctions programs, including by designating persons under E.O. 13224. See 31

C.F.R. § 594.802.

       Mr. Hejeij is a Lebanese businessman and the founder and former owner and manager of

Middle East Africa Bank. Am. Compl. [Dkt. 6] ¶ 11. On June 10, 2015, Mr. Hejeij was

designated under Executive Order 13224 and his name was added to OFAC’s list of Specially

Designated Nationals and Blocked Persons (SDN List). Id. ¶ 12. Designation on OFAC’s SDN

List caused all of Mr. Hejeij’s property in the United States to be blocked, prohibited U.S.

persons from engaging in dealings or transactions with Mr. Hejeij, and discouraged foreign

persons from the same due to the potential for designation on the SDN List themselves as a

result. Id. ¶¶ 12, 15. Mr. Hejeij was designated “for allegedly providing financial, material, or

technological support for, or services to or in support of, Hizballah.” Id. ¶ 15.



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       OFAC’s reasons for designating Mr. Hejeij include:

               As of early 2014, Kassem Hejeij and an individual whom OFAC has
               reason to believe is Adham Tabaja, were responsible for transferring
               funds from Hizballah companies in Iraq to Hizballah.

               As of mid 2014, Kassem Hejeij was an owner of Global Cleaners
               which provided millions of dollars per year to Hizballah.1 As OFAC
               noted in October 2016, Global Cleaners obtained lucrative contracts
               to provide sanitation services in Baghdad, Iraq.

               As of 2014, Hizballah had previously held investments in Global
               Cleaners as part of Baghdad’s city government’s agreement to
               award 80 [sic] of municipal contracts to Hizballah-owned
               companies.

               As of late 2013, Kassem Hejeij was working on behalf of Hizballah
               to manage commercial ventures in Iraq for various Lebanese
               companies. These contracts included various energy-related
               ventures in Iraq as well as certain business activities in Africa and
               South America used to finance Hizballah. The revenues were then
               remitted to Hizballah using accounts at various banks, and Hejeij
               was working to open Middle East Africa Bank (also known as
               MEAB) branches in Iraq for Hizballah.

               In mid-2013, Kassem Hejeij was working with the Iraqi Prime
               Minister’s office to finalize paperwork for MEAB to begin banking
               operations in Iraq.

               In mid-2013, a Hizballah finance official met with Kassem Hejeij,
               and Hejeij agreed to make changes to bank accounts held by
               individuals, entities, or charitable institutions affiliated with
               Hizballah so as to hide ties between money laundering and
               Hizballah. Specifically, Hejeij agreed to begin transferring accounts
               at MEAB that were registered to Hizballah-affiliated individuals or
               entities to new accounts under different names.

               Kassem Hejeij has maintained direct ties with senior elements in
               Hezbollah, Hezbollah elements in Iraq, among others. He has
               provided support to Hezbollah for a number of years through Middle




1
  Mr. Hejeij disputes this fact and has always maintained that he possesses no ownership interest
in Global Cleaners. Am. Compl. ¶ 23.

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                East and Africa Bank, including by investing in civilian
                infrastructure that Hezbollah uses in Lebanon and Iraq.

AR 229, 232.2

        On October 2, 2017, Mr. Hejeij requested the administrative record underlying OFAC’s

decision and administrative reconsideration of his designation, arguing that “the factual

allegations supporting OFAC’s determination that [he] met the criteria for designation . . . were

erroneous or, in the alternative, that circumstances had changed so fundamentally as to [] negate

the basis for his designation.” Am. Compl. ¶¶ 17, 27. After hearing nothing from OFAC for five

months, Mr. Hejeij sent another letter inquiring on the status of his October request on March 7,

2018. OFAC responded to Mr. Hejeij’s reconsideration request by issuing a questionnaire on

March 12, 2018 and providing Mr. Hejeij with the redacted administrative record on April 19,

2018. Id. ¶¶ 18, 29. Mr. Hejeij responded to the questionnaire and provided additional

information and documentation to support his reconsideration request on June 8, 2018. Id.

¶¶ 19-20. Between his initial reconsideration request and the response to OFAC’s questionnaire,

Mr. Hejeij resigned his position at Middle East Africa Bank and divested his ownership interest.

Id. ¶ 19. Mr. Hejeij also expressed a desire “to provide rebuttal evidence or otherwise explain

any specific evidence in OFAC’s possession” to further support his reconsideration request;

however, OFAC never provided specific names or details which Mr. Hejeij could explain or

refute. Id. ¶ 20.

        On June 11, 2018, Mr. Hejeij suggested to OFAC that they enter a Terms of Removal

Agreement under which he:

                (1) would sever and refrain from dealings of any nature with Adham
                Tabaja or companies owned or controlled by Tabaja;

2
  All cites to the Administrative Record reflect the bates page number of the documents, not the
electronic case filing (ECF) page number. The Administrative Record is located at docket 40-1.

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               (2) would not be employed in any operational, executive, or
               managerial position in any financial institution for a five-year
               period; and
               (3) would not extend any lines of credit to any companies for a five-
               year period.
               OFAC acknowledged receipt but did not otherwise provide any
               substantive response to this request.

Id. ¶ 21. Mr. Hejeij indicated that entering into a terms of removal agreement “would save

resources by not [requiring OFAC] to process the reconsideration request of an SDN who has

already expressed a desire to accede to conditions necessary to negating the basis of his

designation.” AR 171. After another two months without a response from OFAC, Mr. Hejeij

filed a civil complaint on August 15, 2018. Am. Compl. ¶ 31. On October 17, 2018, OFAC

provided Mr. Hejeij with a non-privileged and unclassified summary of the reasons supporting

the designation and Mr. Hejeij voluntarily dismissed his civil complaint. Id. ¶ 32. OFAC

provided additional support for its decision on November 28, 2018. Id. ¶ 33.

       Mr. Hejeij supplemented his response to OFAC’s questionnaire on February 25, 2019

after OFAC provided a new unclassified summary of information contained in the administrative

record that supported the designation decision. Id. ¶ 22. On March 13, 2019, Mr. Hejeij asked

OFAC to clarify the reasons for his designation. Id. ¶ 25.

       On June 26, 2019, Mr. Hejeij filed this action under the Administrative Procedures Act

(APA), 5 U.S.C. § 701, et seq. Compl. [Dkt. 1]. On August 29, 2019, OFAC issued a decision

on Mr. Hejeij’s delisting request and denied reconsideration. Am. Compl. ¶ 34; Ex. A, Am.

Compl. [Dkt. 6-1]; AR 1-3. OFAC provided Mr. Hejeij with a redacted copy of the

administrative record that supported its denial of the delisting petition. Am. Compl. ¶ 41. On

October 11, 2019, Mr. Hejeij filed an amended complaint, arguing that (1) Defendants’ denial of

the delisting petition constituted arbitrary and capricious agency action; (2) Defendants’ failure

to respond to Mr. Hejeij’s request to enter into a terms of removal agreement constituted
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unreasonable delay; (3) Defendants’ failure to provide adequate notice of the reasons for his

designation violates constitutional due process; (4) Defendants’ failure to provide adequate

notice of the reasons for his designation violates administrative due process; (5) Defendants’

failure to provide adequate notice of the reasons for denial of his delisting petition violates

constitutional due process; and (6) Defendants’ failure to provide adequate notice of the reasons

for denial of his delisting petition violates administrative due process. Am. Compl. [Dkt. 6].

       Defendants have moved to dismiss or, in the alternative for summary judgment and the

motion is ripe for review.3

                                  II.   LEGAL STANDARD

       A. Motion to Dismiss Under Rule 12(b)(6)

       Rule 8 of the Federal Rules of Civil Procedure mandates that a complaint must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ.

P. 8(a)(2). When a party invokes Rule 12(b)(6) to challenge a complaint for failing to state a

claim for relief pursuant to Rule 8, the Court must assess the complaint to determine whether it

contains sufficient facts that, when accepted as true, evidence a claim that is “plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); accord Ashcroft v. Iqbal, 556

U.S. 662, 679 (2009). “[T]he pleading standard Rule 8 announces does not require ‘detailed

factual allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-harmed-



3
 See Defs.’ Mot. to Dismiss or, in the Alternative, for Summary J. [Dkt. 8]; Pl.’s Cross Mot. for
Summary J. and Opp’n to Defs.’ Mot. to Dismiss or, in the Alternative, for Summary J. (Hejeij
Opp’n) [Dkt. 9]; Defs.’ Consolidated Opp’n to Pl.’s Cross-Mot. for Summ. J. and Reply in Supp.
of Defs.’ Mot. to Dismiss or, in the Alternative, for Summary J. (OFAC Opp’n) [Dkt. 11]; Pl.’s
Reply Mem. in Supp. of Cross Mot. for Summ. J. [Dkt. 13]; First Notice of Suppl. Authority
[Dkt. 18]; Response to First Notice of Suppl. Authority [Dkt. 19]; Second Notice of Suppl.
Authority [Dkt. 20]; Response to Second Notice of Suppl. Authority [Dkt. 21]; Third Notice of
Suppl. Authority [Dkt. 22]; Response to Third Notice of Suppl. Authority [Dkt. 24].

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me accusation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). “A pleading that

offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will

not do.’” Id. (quoting Twombly, 550 U.S. at 555). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. A court must treat the complaint’s factual

allegations as true, “even if doubtful in fact.” Twombly, 550 U.S. at 555. But a court need not

accept as true legal conclusions set forth in a complaint. Iqbal, 556 U.S. at 678. “In determining

whether a complaint states a claim, the court may consider the facts alleged in the complaint,

documents attached thereto or incorporated therein, and matters of which it may take judicial

notice.” Stewart v. Nat’l Educ. Ass’n, 471 F.3d 169, 173 (D.C. Cir. 2006).

       B. Summary Judgment

       “Summary judgment is the proper mechanism for deciding, as a matter of law, whether

an agency action is supported by the administrative record and consistent with the APA standard

of review.” Chiayu Chang v. USCIS, 289 F. Supp. 3d 177, 182 (D.D.C. 2018). When

considering challenges to agency action under the APA, instead of applying Federal Rule of

Civil Procedure 56(a)’s summary judgment standard, “the district judge sits as an appellate

tribunal. The ‘entire case on review’ is a question of law.” Am. Bioscience, Inc. v. Thompson,

269 F.3d 1077, 1083 (D.C. Cir. 2001).

       The APA requires courts to set aside agency actions that are “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). “The

scope of review under the ‘arbitrary and capricious’ standard is narrow and a court is not to

substitute its judgment for that of the agency.” Motor Veh. Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).



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                                      III.   ANALYSIS4

       A. Was OFAC’s Denial Decision Arbitrary and Capricious?

       Count I of Mr. Hejeij’s Amended Complaint alleges that the denial of his delisting

petition was arbitrary and capricious agency action because the evidence Defendants argue

supports the decision to list Mr. Hejeij does not support the conclusion and findings. Am.

Compl. ¶¶ 56-59. He specifically challenges OFAC’s conclusion that knowledge of

“Hizballah[’s] funding mechanisms and business connections” equated to access to senior

elements of Hizballah and support for the organization. Hejeij Opp’n at 20-21. He also disputes

OFAC’s determination the he was not credible when he denied interaction with the Hizballah

finance official, denied having continued involvement and control over the MEAB, and denied

partial ownership of Global Cleaners.

       A court’s “review—in an area at the intersection of national security, foreign policy, and

administrative law—is extremely deferential.” Islamic Am. Relief Agency v. Gonzales, 477 F.3d

728, 734 (D.C. Cir. 2007). Agency action may only be set aside “if it is ‘arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.’” Id. at 732 (quoting 5 U.S.C.

§ 706(2)(A)). A court “may not substitute [its] judgment for OFAC’s,” but the agency is

required “to ‘examine the relevant data and articulate a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.’” Id. (quoting

Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43).



4
 The Court has jurisdiction over this case because it arises under the laws of the United States,
specifically the International Emergency Economic Powers Act, 50 U.S.C. § 1701 et seq., the
United Nations Participation Act, 22 U.S.C. § 287c, and the Administrative Procedures Act, 5
U.S.C. § 701 et seq. See 28 U.S.C. § 1331. Venue is proper in this District Court because the
challenged actions took place in the District and the Defendants are located in the District. See
28 U.S.C. §§ 1391(b) and (e).

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       Having reviewed the material upon which OFAC relied, the Court concludes that it did

not err in denying Mr. Hejeij’s delisting petition. OFAC based its decision to list Mr. Hejeij and

deny his delisting petition on the following findings by the agency:

      Mr. Hejeij “maintained direct ties with senior elements in Hizballah and provided support
       to the gropu for a number of years through Middle East Africa Bank (MEAB), including
       by working on behalf of Hizballah to manage commercial ventures in Iraq.” AR 1.

      Mr. Hejeij “met with a Hizballah finance official in 2013 and agreed to make changes to
       bank accounts held by individuals, entities, and charitable institutions affiliated with
       Hizballah in order to hide the ties between money laundering activities and Hizballah.”
       Id. at 2.

      Mr. Hejeij “collaborated with Adham Tabaja, whom OFAC designated in June 2015 for
       providing support and services to Hizballah,” by “transferring funds from Hizballah
       companies in Iraq to Hizballah.” Id.

      Mr. Hejeij assisted in opening two MEAB branches in Iraq “for reasons other than
       advancing innocuous commercial interests.” Id.

      Mr. Hejeij’s partial ownership of Global Cleaners, “which provided millions of dollars
       per year to Hizballah.” Id.

OFAC also requested and reviewed additional information provided by Mr. Hejeij in response to

questionnaires and responded to the arguments presented by Mr. Hejeij in his delisting petition.

See id. at 1, 29-87 (OFAC questionnaire and response), 256-92 (supplemental response to OFAC

questionnaire). Finally, OFAC considered classified evidence supporting Mr. Hejeij’s

designation and provided unclassified summaries of the evidence to Mr. Hejeij. Id. at 227-32.

OFAC concluded that Mr. Hejeij failed to “put forth arguments or evidence establishing that an

insufficient basis exists for his designation or that the circumstances resulting in the designation

are no longer applicable.” Id. at 1.

       Although Mr. Hejeij does not agree with OFAC’s conclusion that knowledge of

Hizballah mechanisms equals support of the organization, the Court does not find such a

conclusion is arbitrary and capricious. OFAC reasonably argues that Hizballah, like other


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terrorist organizations is “unlikely to widely publicize details of its nefarious operations,”

including the details of its funding mechanisms. OFAC Opp’n at 11. And OFAC is not required

to provide concrete evidence that Mr. Hejeij is a member of Hizballah to defeat his APA claims,

but can instead base its decision on informed judgment. See Holder v. Humanitarian Law

Project, 561 U.S. 1, 34-35 (2010) (“[C]onclusions must often be based on informed judgment

rather than concrete evidence, and that reality affects what we may reasonably insist on from the

Government.”). Additionally, OFAC relies on more than that conclusion to support Mr. Hejeij’s

designation and a reviewing court must consider all of the evidence together, not “require[] each

piece of the government’s evidence to bear weight without regard to all (or indeed any) other

evidence in the case.” Al-Adahi v. Obama, 613 F.3d 1102, 1105-06 (D.C. Cir. 2010).

       Finally, the Court cannot substitute its judgment for that of the agency and OFAC

adequately explained its reasons for questioning Mr. Hejeij’s credibility and the evidence he

presented to challenge his designation. The agency is not required to demonstrate that Mr.

Hejeij’s interpretation of the evidence is unreasonable, but merely that the record evidence

supports the agency’s decision. See Zevallos v. Obama, 10 F. Supp. 3d 111, 123 n.9 (D.D.C.

2014) (quoting Fla. Gas Transmission Co. v. FERC, 604 F.3d 636, 645 (D.C. Cir. 2010))

(“‘When reviewing for substantial evidence, [the Court does] not ask whether the record could

support the petitioner’s view of the issue, but whether it supports the [agency]’s ultimate

decision. The substantial evidence inquiry turns not on how many discrete pieces of evidence

the [agency] relies on, but on whether that evidence adequately supports its ultimate decision.’”).

The D.C. Circuit has recently held in an unpublished judgment that, under the APA, an

individual challenging OFAC’s designation “must show that the ‘rationale’ behind his original

designation ‘was never true or is no longer true.’” Joumaa v. Mnuchin, No. 19-5166, 798 Fed.



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App’x 667, 668 (D.C. Cir. March 3, 2020). OFAC considered all of the evidence and arguments

submitted in support of Mr. Hejeij’s delisting petition and determined they either conflicted with

evidence already obtained by the agency or did not require a different finding. See AR 1-3

(explaining the evidence presented by Mr. Hejeij and the reasons OFAC discounted it); id. at 12-

13 (explaining why OFAC did not credit Mr. Hejeij’s evidence that he was not a part-owner of

Global Cleaners); id. at 13-14 (explaining why OFAC did not credit Mr. Hejeij’s statements that

his relationship with Adham Tabaja was limited to his role as MEAB chairman).

       The Court has considered the entire record, both classified and unclassified, and finds

that Defendants’ denial of Mr. Hejeij’s delisting petition was not arbitrary and capricious.

       B. Did OFAC Unreasonably Delay Its Response to Mr. Hejeij’s Request to Enter
          Into a Terms of Removal Agreement?

       Mr. Hejeij alleges in Count II of the Amended Complaint that Defendants have yet to

respond to his June 2018 request to enter into a terms of removal agreement and Defendants’

failure to respond constitutes unreasonable delay. The APA requires agencies “to conclude a

matter presented to it” “[w]ith due regard for the convenience and necessity of the parties or their

representatives and within a reasonable time.” 5 U.S.C. § 555(b). And a reviewing court “shall

compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

       Defendants claim that the response denying Mr. Hejeij’s delisting petition also denied his

request to enter into a terms of removal agreement; and the fact that a decision was issued on

both of Mr. Hejeij’s requests moots his unreasonable delay claim. See Zevallos, 10 F. Supp. 3d

at 123 (“The plaintiff’s first argument is moot because OFAC has issued its decision regarding

[plaintiff’s] designation.”). However, the letter denying Mr. Hejeij’s delisting petition nowhere

mentions his request to enter a terms of removal agreement. See AR 1-3 (“Consequently, and for

the aforementioned reasons, your client’s request is denied and your client’s name will remain on


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OFAC’s SDN list pursuant to E.O. 13224.”). Despite the fact that OFAC’s denial letter did not

also specifically deny Mr. Hejeij’s request to enter a terms of removal agreement, it is evident

from Mr. Hejeij’s request itself that OFAC was only required to respond to the terms of removal

request as an alternative to deciding his delisting petition. See generally AR 167-72 (“Request to

Enter into an Agreement for Removal from OFAC’s SDN List”). Mr. Hejeij specifically stated

that:

               Petitioner believes that a Terms of Removal Agreement would
               satisfactorily resolve this reconsideration matter to the benefit of all
               parties and would serve to achieve OFAC’s underlying policy
               objectives. . . . OFAC would save resources by not having to process
               the reconsideration request of an SDN who has already expressed a
               desire to accede to conditions necessary to negating the basis of his
               designation.

AR 171. Therefore, Mr. Hejeij’s request to enter into a terms of removal agreement was an

alternative to OFAC deciding his delisting petition. The fact that OFAC completed the

reconsideration process and denied Mr. Hejeij’s delisting petition is de facto a refusal to select

Mr. Hejeij’s alternative request to enter into a terms of removal agreement. Therefore, OFAC

has responded to Mr. Hejeij’s request to enter into a terms of removal agreement and Count II is

moot.

        C. Did OFAC Provide Adequate Notice of the Reasons for the 2015 Designation and
           2019 Denial Decision?

        Mr. Hejeij challenges OFAC’s provision of notice regarding the reasoning behind both

his original designation in 2015 and the agency’s denial of his delisting petition in 2019. For

both decisions, Mr. Hejeij argues OFAC failed to provide adequate notice under the Fifth

Amendment and the APA.




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               1. Fifth Amendment Notice

       Mr. Hejeij argues that Defendants infringed on his Fifth Amendment right to due process

by failing to adequately notify him of the reasons supporting his original designation and the

subsequent denial of his delisting petition. Defendants move to dismiss Mr. Hejeij’s Fifth

Amendment claims because he lacks substantial contacts with the United States and, therefore, is

not entitled to Fifth Amendment protections.

       “[N]on-resident aliens who have insufficient contacts with the United States are not

entitled to Fifth Amendment protections.” Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004)

(citing Johnson v. Eisentrager, 339 U.S. 763, 771 (1950)); see also People’s Mojahedin Org. of

Iran v. Dep’t of State, 182 F.3d 17, 22 (D.C. Cir. 1999) (“A foreign entity without property or

presence in this country has no constitutional rights, under the due process clause or

otherwise.”). However, non-resident aliens are entitled to Fifth Amendment protections if they

“have come within the territory of the United States and developed substantial connections with

the country.” United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990) (plurality opinion).

The D.C. Circuit has also held within the context of an OFAC sanctions case that presence in the

United States or substantial property interests are necessary to warrant due process rights.

Compare Nat’l Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 201 (D.C. Cir.

2001) (finding two Iranian organizations could bring a due process challenge because they had

an “overt presence within the National Press Building in Washington, D.C.” and an “interest in a

small bank account”) with 32 County Sovereignty Comm. v. Dep’t of State, 292 F.3d 797, 799

(D.C. Cir. 2002) (rejecting petitioners’ claim to constitutional rights where they “demonstrated

neither a property interest nor a presence in this country”).

       Mr. Hejeij is a foreign national with no presence in the United States and he has not

alleged any specific property or other interest located within the United States. The Amended
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Complaint states that “all of Hejeij’s property and interests in property within U.S. jurisdiction

was blocked,” Am. Compl. ¶ 15, but does not list any specific property or interests. “Describing

the legal consequences of any person’s addition to the SDN list, however, does not establish

Plaintiff’s substantial connections to the United States.” See Rakhimov v. Gacki, Case No. 19-

2553, 2020 WL 1911561, at *5 (D.D.C. April 20, 2020) (emphasis in original). In response to

Defendants’ argument that Mr. Hejeij lacked substantial contacts, Mr. Hejeij offers no specific

examples of property or other interests located within the United States, but instead asks for

discovery on the issue. It is incomprehensible why a plaintiff would need to conduct discovery

regarding his own interests. Mr. Hejeij is the individual with the specific knowledge of whether

he has property or other interests in the United States and his failure to identify even one

example of such interests permits the Court to find no substantial connections exist to warrant

due process protections. In fact, Mr. Hejeij responded to an OFAC questionnaire asking him to

“detail any interest you currently hold in any financial accounts or real property in the United

States” and he responded that he “does not maintain an interest in any financial accounts or real

property in the United States.” AR 47.

       Because Mr. Hejeij has not alleged any connection to the United States, let alone a

substantial one, the Court will dismiss Mr. Hejeij’s Fifth Amendment due process claims.

               2. APA Notice

        Mr. Hejeij also argues that OFAC failed to provide adequate notice as required by the

APA. The APA requires an agency to “set forth its reasons” for decisions, Roelofs v. Secretary

of the Air Force, 628 F.2d 594, 599 (D.C. Cir. 1980), and when considering a challenge to

agency action to provide:

               Prompt notice . . . of the denial in whole or in part of a written
               application, petition, or other request of an interested person made
               in connection with any agency proceeding. Except in affirming a
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               prior denial or when the denial is self-explanatory, the notice shall
               be accompanied by a brief statement of the grounds for denial.

5 U.S.C. § 555(e).

       Mr. Hejeij was provided with the administrative record which includes (1) a three page

letter explaining the reasons his delisting petition was denied; (2) a redacted copy of the

evidentiary memorandum supporting the delisting petition denial; (3) a form requesting

additional information, that specifically listed individuals and organizations whose relationship

to Mr. Hejeij OFAC was particularly interested in; (4) a redacted memorandum listing the

reasons for Mr. Hejeij’s designation; and (5) two unclassified summaries of the information

forming the basis for Mr. Hejeij’s designation and the denial of his delisting petition. While Mr.

Hejeij argues that the significant redactions and lack of specificity in the unclassified summaries

makes it impossible for him to adequately refute Defendants’ findings, he has more information

than merely the redacted document and summaries. He focuses on OFAC’s failure to disclose

the name of the individual he allegedly met with in 2013, but OFAC did identify a list of

individuals whose relationship with Mr. Hejeij about which it was interested in learning. That

list provided Mr. Hejeij with additional details upon which OFAC presumably relied both when

he was designated and when his delisting petition was denied. See Rakhimov, 2020 WL

1911561, at *7 (“OFAC’s questionnaires offer further information . . . [and] provide meaningful

details regarding the evidence.”). It is also well established “that the APA does not require

OFAC to provide [individuals] with the classified or law-enforcement-privileged information

supporting [their] designation.” Id. (citing Sulemane v. Mnuchin, No. 16-1822, 2019 WL 77428,

*7 (D.D.C. Jan. 2, 2019)).




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       Mr. Hejeij was provided with a sufficient basis to understand his designation and

delisting petition denial. Therefore, the Court will grant summary judgment to Defendants on

Mr. Hejeij’s claims challenging the adequacy of the notice under the APA.

                                   IV.   CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss, or in the alternative for

summary judgment, will be granted. A memorializing Order accompanies this Memorandum

Opinion.



Date: September 16, 2020
                                                    THOMAS F. HOGAN
                                                    United States District Judge




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